            Case 1:22-cv-00869-LY Document 7 Filed 09/12/22 Page 1 of 1



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                        IN THE UNITED STATES DISTRICT COURT                                               2 2022
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
CARSON BLOCK, an individual,

Plaintiff
-vs-                                                            Case No. 1:22-cv-00869-LY
KEVIN R. BARNES, an individual,

Defendant

                                             ORDER

        BE IT REMEMBERED on this            the4          day                                          there

was   presented to the Court the Motion for Admission Pro Hac                             Vice    filed    by

            Dilan A. Esper          ("Applicant"), counsel for        Plaintiff, Carson Block             and

the Court, having reviewed the motion, enters the following order:

        IT IS ORDERED that the Motion for Admission Pro Hac           Vice is   GRANTED, and Applicant

may appear on behalf of         Plaintiff, Carson Block          in the above case.

        IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-l(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

        IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

        IT IS FINALLY ORDERED that Applicant's ProHac            Vice status    shall not become effective

until Applicant has complied with all provisions of this Order.

        SIGNED this the              'day                                   20




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